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                                        No. 25-1236

                     UNITED STATES COURT OF APPEALS
                          FOR THE FIRST CIRCUIT



                              STATE OF NEW YORK, et al.,
                                                      Plaintiffs-Appellees,
                                            v.
                    DONALD J. TRUMP, IN HIS OFFICIAL CAPACITY AS
                      PRESIDENT OF THE UNITED STATES, et al.,
                                                  Defendants-Appellants.
                             __________________________

                   On Appeal from the United States District Court
                  for the District of Rhode Island (No. 1:25-cv-00039)
                         The Honorable John J. McConnell, Jr.
                             __________________________


            PLAINTIFF STATES’ OPPOSITION TO DEFENDANTS’
                 MOTION FOR STAY PENDING APPEAL

            Defendants are not entitled to the “extraordinary remedy,” Nken

      v. Holder, 556 U.S. 418, 428 (2009), of a stay pending appeal.

      Defendants abruptly implemented blanket “freezes” on billions of

      dollars in federal funds that imposed severe and substantial harms on

      Plaintiff States. As the district court correctly held, defendants’ actions

      were likely arbitrary and capricious and contrary to law, in violation of

      the Administrative Procedure Act (“APA”). Defendants failed to justify

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      their sweeping and reckless conduct, and no federal statute authorized

      their actions. Nor did the district court abuse its discretion in entering

      a preliminary injunction. Defendants’ motion should be denied.

                                   BACKGROUND

            A.     Legal Background

            The Constitution “grants the power of the purse to Congress, not

      the President.” City & Cnty. of San Francisco v. Trump, 897 F.3d 1225,

      1231 (9th Cir. 2018). Pursuant to that power, Congress has enacted a

      complex set of statutes governing federal funding. Congress has

      instructed federal agencies that appropriated funds “shall be applied

      only to the objects for which the appropriations were made,” 31 U.S.C.

      § 1301(a)—i.e., only the purposes Congress has indicated. Congress has

      also provided—in the Congressional Budget and Impoundment Control

      Act of 1974 (“Act”), 2 U.S.C. §§ 681 et seq.—that federal agencies can

      “impound” appropriated funds only under a narrow range of

      circumstances. Specifically, the Act expressly withholds from the

      Executive Branch the power to decline to spend appropriated funds,

      instead instructing the President to “propose[]” such an action (called a

      “rescission”) to Congress if he thinks appropriate. Id. § 683. And it



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      allows the Executive to “defer” expenditure of appropriated funds only

      under narrow circumstances, not for policy reasons, and only after

      notice to Congress. Id. § 684.

            Congress appropriates funds with these rules in mind. In many

      statutes, Congress specifically provides funds that it requires federal

      agencies to distribute to the States and other entities, who will then

      spend the funds to provide critical services across the Nation. For

      instance, Congress has required the Secretary of Health and Human

      Services to “pay” “each State” a fixed portion of their annual Medicaid

      expenditures for the purpose of providing certain health insurance, 42

      U.S.C. § 1396b(a), and mandated that the Secretary of Transportation

      “shall” distribute federal funds to States for the purpose of building

      highways, 23 U.S.C. § 104(a)(1), (b), (c). These federal appropriations,

      and others, are called “formula” funds, in that they afford the relevant

      federal agency no discretion either in the fact of funding or the amount

      of funds provided. City of Los Angeles v. Barr, 941 F.3d 931, 934-35

      (9th Cir. 2019).

            But many non-formula federal programs are also mandatory, in

      that Congress has instructed federal agencies to spend appropriated



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      funds for specific purposes and left those agencies no discretion to

      decline to do so. To take one recent example, Congress appropriated

      over $2 trillion in 2021 and 2022 in two federal statutes that made

      investments in energy and infrastructure projects across the Nation.

      See Inflation Reduction Act of 2022, Pub. L. No. 117-169, 136 Stat. 1818

      (“IRA”); Infrastructure Investment and Jobs Act, Pub. L. No. 117-58,

      135 Stat. 429 (2021) (“IIJA”). These funds supported programs that

      require federal agencies to provide money to States for purposes

      ranging from wastewater treatment to the rehabilitation of water

      systems to air quality monitoring. See, e.g., 33 U.S.C. §§ 1381(a), (b)

      (Environmental Protection Agency (“EPA”) “shall make capitalization

      grants to each State” to implement federal Clean Water Act), 1384(a)

      (unallotted clean-water funds must be provided to states); 42 U.S.C.

      §§ 7403(a)(2), (c) (similar for clean-air funding); see Doc. 67 at 6-11.

      Many Plaintiff States received grants pursuant to these programs, and

      the resulting funds are subject to final, binding agreements with EPA

      and other agencies. Id.




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            B.     The Funding Freezes

            On January 20, 2025, shortly after his inauguration, President

      Trump issued a series of executive orders. Many directed the federal

      agencies implementing them to pause or suspend distribution of funds

      pending a review of those funds for consistency with the President’s

      priorities. Most directly, Executive Order 14,154, “Unleashing

      American Energy,” directed federal agencies to “immediately pause the

      disbursement of funds appropriated through the [IRA] or the [IIJA]” to

      permit those agencies to review those funds’ alignment with the new

      administration’s policies. Doc. 68-1 at 6. Other orders likewise directed

      agencies to implement “pauses” to align funding with the President’s

      priorities. See Doc. 68-3 at 6 (agencies shall “[p]ause distribution” of

      funds under “all contracts, grants, or other agreements” providing

      services to noncitizens); Doc. 68-3 at 3 (gender ideology).

            Within days, defendants complied. On January 27, the Office of

      Management and Budget (“OMB”) issued a memorandum to all federal

      agencies directing them to conduct a “comprehensive analysis of all . . .

      Federal financial assistance programs to identify” programs “implicated

      by any of the President’s executive orders.” Doc. 1-1 (“Directive”) at 2.



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      While doing so, OMB explained, “to the extent permissible under

      applicable law, Federal agencies must temporarily pause all

      activities related to obligation or disbursement of all Federal financial

      assistance.” Id. (emphasis in original) Other agencies issued

      contemporaneous guidance also instructing funding officials to pause

      disbursements pending a review of federal programs for compliance

      with presidential priorities. E.g., Doc. 68-14 (EPA: “all disbursements

      of unliquidated obligations funded by any line of accounting . . . are

      paused”); Doc. 68-123 (similar at Department of Energy). A document

      OMB provided to defendants identified over 2,600 affected federal

      programs. Doc. 1-2.

            Consistent with those instructions, defendants initiated funding

      freezes that—without any regard to the governing statutes, regulations,

      or grant terms—suspended payments on a wide range of government

      programs to funding recipients, including the States. Plaintiff States

      were instantly locked out of access to billions of dollars of funds

      supporting Medicaid expenditures, emergency operations, road

      construction, education, veteran’s care, and more. Doc. 67 at 17-21, 24-

      34. EPA and other agencies suspended and deleted grants supporting



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      critical air, water, and infrastructure projects from federal payment

      systems, leaving Plaintiff States unable to even seek (much less obtain)

      reimbursement for expenses already approved by agencies. Id. at 21-

      24. These funding freezes, the district court later found, caused an

      extraordinary “disruption in health, education, and other public

      services” within Plaintiff States. Doc. 161 (“Op.”) at 43.

             Less than 24 hours after the Directive was issued, a district court

      elsewhere issued an “administrative stay” suspending it, Nat’l Council

      of Nonprofits v. OMB (“Council I”), 2025 WL 314433, at *2 (D.D.C. Jan.

      28, 2025), and OMB promptly rescinded it, Doc. 68-12. But the White

      House Press Secretary subsequently clarified that OMB’s action was

      “NOT a rescission of the federal funding freeze” itself, but “simply a

      rescission of the OMB memo” prompted by the court’s stay. Doc. 68-

      126.

             C.     Proceedings Below

             Plaintiffs are 24 States and state executives that receive hundreds

      of billions of dollars of federal funds annually—funds used to provide

      services to state residents ranging from healthcare to education to

      infrastructure. Doc. 114 at 6-9.



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            Plaintiff States filed this action within 24 hours after the issuance

      of the Directive and sought a temporary restraining order (“TRO”) to

      preserve their ability to provide these services. Docs. 1, 3. The district

      court issued a TRO directing defendants not to “pause, freeze, impede,

      block, cancel, or terminate” federal funding “except on the basis of the

      applicable authorizing statutes, regulations, and terms.” Doc. 50 at 11.

      Defendants appealed and sought an administrative stay from this

      Court, which was denied. New York v. Trump, No. 25-1138, 2025 WL

      455494 (1st Cir. Feb. 11, 2025). Defendants dismissed their appeal.

            Plaintiff States amended their complaint, Doc. 114, and sought a

      preliminary injunction, which the district court granted, Op. 1. The

      court held that defendants had likely acted arbitrarily and capriciously

      by initiating a “sweeping pause of nearly all federal financial

      assistance,” threatening “the States’ ability to provide vital services,”

      without providing a rational reason for doing so. Id. at 32. And it held

      that defendants had likely acted contrary to law in attempting to “carry

      out a categorical federal funding freeze” without authority to do so. Id.

      at 30. The court also made factual findings—supported by over 100

      unrebutted evidentiary submissions—of the irreparable harm the



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      funding freezes had caused the States, id. at 36, and held that, as a

      result, “the public interest lies in maintaining the status quo and

      enjoining any federal funding freeze,” id. at 43.

                                    ARGUMENT

            Defendants are not entitled to a stay. In evaluating a stay

      request, this Court considers “(1) whether the stay applicant has made

      a strong showing that it is likely to succeed on the merits; (2) whether

      the applicant will be irreparably injured absent a stay; (3) whether

      issuance of the stay will substantially injure the other parties

      interested in the proceeding; and (4) where the public interest lies.”

      Bos. Parent Coal. for Acad. Excellence Corp. v. Sch. Comm. of City of

      Bos., 996 F.3d 37, 44 (1st Cir. 2021) (cleaned up); accord New Jersey v.

      Trump, No. 25-1170, 2025 WL 759612, at *3 (1st Cir. Mar. 11, 2025).

      Defendants are not entitled to such relief because they are unlikely to

      succeed on the merits and because the district court acted well within

      its discretion in issuing the preliminary injunction.




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       I.    Defendants Have Not Made A Strong Showing That They
             Will Succeed On The Merits.

             The district court correctly held that defendants likely violated the

       APA, Op. 20-34, and defendants have not shown that it erred in doing

       so.

             A.     The freezes were arbitrary and capricious.

             Defendants failed to reasonably explain the categorical funding

       freezes, rendering their actions arbitrary and capricious in violation of

       the APA. FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021).

       While a court may not “substitute its own policy judgment for that of

       the agency,” id., it must ensure that the agency has “examined the

       relevant data and articulated a satisfactory explanation for its action,

       including a rational connection between the facts found and the choice

       made,” Motor Vehicle Mfrs. Assn. of U.S., Inc. v. State Farm Mut. Auto.

       Ins. Co., 463 U.S. 29, 43 (1983) (cleaned up).

             Here, defendants failed to provide any reasoned explanation for

       suddenly freezing billions of dollars in financial assistance that funds

       critical services for millions of Americans—including food, healthcare,

       public safety, law enforcement, a healthy environment, education, and

       infrastructure. Op. 19 & n.8, 36-42. Particularly given the scope and


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       speed at which defendants froze funds, the district court properly found

       that “[i]t is difficult to perceive any rationality in this decision—let

       alone thoughtful consideration of practical consequences.” Op. 32. As

       another court observed, this was a “breathtakingly large sum of money

       to suspend practically overnight.” Nat’l Council of Nonprofits v. OMB

       (“Council II”), 2025 WL 597959, at *14 (D.D.C. Feb. 25, 2025).

             There is no merit to defendants’ conclusory contention that

       safeguarding taxpayer resources justified “a sweeping pause of nearly

       all federal financial assistance with such short notice” while defendants

       began indefinite reviews of grant programs. Op. 32. Defendants failed

       to provide any explanation, let alone a rational one, for why they did not

       conduct their reviews to identify supposed waste before freezing

       spending. Indeed, defendants plainly did not consider this obvious

       alternative, instead cutting off funding for a vast array of government

       services without any meaningful consideration of the consequences of

       that decision. Op. 31-33; see Council II, 2025 WL 597959, at *14.

             Moreover, defendants’ actions were also arbitrary and capricious

       because they failed to consider the enormous reliance interests of

       Plaintiff States, as well as their agencies and residents, in billions of



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       dollars of obligated funds that keep critical government services

       running. Defendants’ characterization of the funding freezes as

       “temporary” ignored the overwhelming and unrebutted evidence

       demonstrating that “consistent disbursements of funds” is critical to the

       operation of state governments. Council II, 2025 WL 597959, at *15.

       Defendants’ overnight change to longstanding funding practices relied

       on by States to maintain these services failed to consider “serious

       reliance interests that must be taken into account.” DHS v. Regents of

       the Univ. of Cal., 591 U.S. 1, 30 (2020). As the district court correctly

       held, defendants “failed to offer rational reasons for finding that” their

       policy objectives justified a broad, indefinite freeze of federal funding.

       Op. 33-34.

            B.      The freezes were contrary to law.

            The district court also correctly held that the categorical funding

       freezes likely violated multiple federal funding statutes and thus were

       contrary to law. Federal agencies have only those powers conferred on

       them by Congress, and agency action that exceeds statutory limits is

       ultra vires, violating the APA. See City of Providence v. Barr, 954 F.3d

       23, 31 (1st Cir. 2020). Defendants have never cited any statute that



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       allows them “to unilaterally pull the plug on nearly all federal monetary

       flows,” Council II, 2025 WL 597959, at *15, and none exists.

            First, defendants’ actions violated numerous statutes mandating

       that funding be used in a specific manner, for specific purposes,

       according to specific terms, limiting agencies’ authority to decline to

       spend funds appropriated by Congress. In the appropriations context,

       federal agencies “must follow statutory mandates so long as there is

       appropriated money available.” In re Aiken Cnty., 725 F.3d 255, 259

       (D.C. Cir. 2013) (Kavanaugh, J.); accord, e.g., San Francisco, 897 F.3d

       at 1232; see Lincoln v. Vigil, 508 U.S. 182, 193 (1993) (“Congress may

       always circumscribe agency discretion to allocate resources by putting

       restrictions in the operative statutes”).

            As the district court correctly concluded, Op. 8-9, many funding

       streams that defendants froze are “formula” grants, which Congress has

       required that States receive based on enumerated statutory factors, like

       population or the expenditure of qualifying state funds, see, e.g., City of

       Los Angeles, 941 F.3d at 934-35. Such grants provide funding for many

       critical government services, including Medicaid, highway construction,




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       special education services, and mental health and substance abuse

       treatment. Op. 8. The funding freezes were contrary to those laws.

            The freezes of IIJA and IRA funding—which goes to projects such

       as broadband access, improving the electric grid, providing clean water,

       and pollution reduction—are also contrary to Congress’s specific

       dictates and designs. See, e.g., IIJA § 50102; IIJA § 50210; Op. 8-9. As

       the district court correctly explained, Op. 28-29, those statutes require

       their implementing agencies to expend the funds that Congress allotted,

       and defendants have entered into binding agreements to do so, leaving

       them “no discretion to deviate” from statutory command, id. at 29;

       supra pp. 3-4. Yet defendants categorically and indefinitely froze these

       funds.

            Finally, as the district court explained, Op. 25-27, the

       Impoundment Control Act strictly limits the circumstances under which

       the Executive may decline to spend appropriated funds. Supra p. 2;

       Aiken Cnty., 725 F.3d at 261 n.1. None of those circumstances is

       present here: The President has not received approval to initiate a

       budget rescission, nor has he identified a permissible reason to defer

       expenditures or told Congress of his intent to so. 2 U.S.C. §§ 683(a),



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       684(b). Absent compliance with the Act, defendants “may not decline to

       follow” an appropriations law just because they disagree with it. Aiken

       Cnty., 725 F.3d at 259.

            C.     Defendants’ counterarguments fail.

            Defendants do not defend their freezes on the merits. Mot. 8-17.

       Instead, they advance a range of technical and procedural arguments.

       All are wrong.

            1.     Defendants argue primarily that the case has “improper[ly]”

       shifted from a discrete challenge to the Directive to a “broad-based”

       attack on the President’s authority. Mot. 9-14. That is incorrect on

       multiple levels.

            First, Plaintiff States’ APA claims challenge discrete and final

       agency actions, not the President’s executive orders. Plaintiff States

       challenge agency defendants’ actions—following the executive orders

       and Directive—to implement categorical funding freezes without regard

       and contrary to legal authority. Doc. 114 at 3. As the district court

       correctly held, Op. 20-25, and defendants do not contest, those agency

       actions are “final” under the APA. Bennett v. Spear, 520 U.S. 154, 177-

       78 (1997). The agency actions challenged here represented defendants’



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       final positions on whether to categorically freeze funds pending their

       review. See Clean Air Council v. Pruitt, 862 F.3d 1, 6 (D.C. Cir. 2017)

       (stay pending review can be “final”). And defendants’ funding freezes

       determined “obligations” from which “legal consequences” flowed,

       Bennett, 520 U.S. at 178, disrupting funding obligated to Plaintiff

       States under binding statutory requirements and grants. Op. 24.

            Contrary to defendants’ arguments, Mot. 13-14, Plaintiff States

       challenge discrete agency actions, not general statements of priority or

       policy goals. See Norton v. SUWA, 542 U.S. 55 (2004); Fund for

       Animals, Inc. v. U.S. Bureau of Land Mgmt., 460 F.3d 13, 21 (D.C. Cir.

       2006). Defendants misplace their reliance on Norton, which involved a

       challenge to agency inaction under 5 U.S.C. § 706(1), where a litigant

       “faces a different burden from that borne by a challenger of agency

       action” under § 706(2). Nat’l Assn. of Home Builders v. U.S. Army

       Corps of Eng’rs, 417 F.3d 1272, 1280-81 (D.C. Cir. 2005). Here, unlike

       in Norton, the agency actions challenged fit comfortably within the

       APA’s definition of “agency action.” 5 U.S.C. § 551(13).

            The Directive, for instance, is reviewable under the APA as either

       a “rule” or an “order.” See id. § 551(4); N.Y. Stock Exch. LLC v. Sec. &



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       Exch. Comm’n, 2 F.4th 989, 992 (D.C. Cir. 2021) (an “order” is “virtually

       any authoritative agency action other than a rule”). The plain text of

       the Directive—which stated that all federal agencies “must temporarily

       pause all activities related to [the] obligation or disbursement of all

       Federal financial assistance,” Doc. 68-9 at 2—gave a “command, not a

       suggestion” to federal agencies to implement “a categorical, indefinite

       funding freeze.” Op. 23; see Council II, 2025 WL 597959, at *6. And the

       agency defendants plainly understood it that way; on January 28, they

       suspended funding across the board at the same time. Id. at *7. These

       discrete actions are far removed from the general statements of priority

       that are unreviewable under the APA.

            Likewise, agency defendants’ categorical funding freezes are

       reviewable as orders or the “denial” of “relief”—defined to include the

       denial of “the whole or part of an agency . . . grant of money.” 5 U.S.C.

       § 551(11), (13). Put simply, the “determinations of agency heads” to

       implement funding freezes “have immediate effect and constitute”

       agency action under the APA. AIDS Vaccine Advoc. Coal. v. U.S. Dep’t

       of State, 2025 WL 485324, at *5 (D.D.C. Feb. 13, 2025). These actions

       had concrete consequences, and therefore are unlike the (in)actions



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       challenged in Norton, which turned on general statements about what

       an agency “plans to do, at some point, provided it has the funds and

       there are not more pressing priorities.” 542 U.S. at 71.

            2.      Defendants are also wrong to portray the injunction as a

       broad-based attempt to interfere with the President’s executive orders.

       Mot. 8-11.

            First, and most fundamentally, defendants misdescribe Plaintiff

       States’ challenge and the injunction. Plaintiff States did not challenge

       the President’s power to “issue policy guidance to federal agencies

       through Executive Orders,” id. at 10, and the injunction does not

       circumscribe that power. Rather, it simply prohibits federal agencies

       from unlawfully freezing federal funds while they conduct the review

       the President has directed. Op. 43-44. The district court entered that

       injunction because agency defendants did just that—freezing broad

       swaths of appropriated, obligated funding on no reasoning, much less

       individualized assessments grounded in the statutes, regulations, or

       grant terms governing particular funds. Enjoining that conduct does

       not interfere with the President’s authority to “control and supervise”




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       federal agencies, Mot. 10; it simply ensures that those agencies do not

       exceed their authority in following his commands.

            Defendants’ contrary view rests mainly on the executive orders’

       instruction that agencies pause federal funding “consistent with

       applicable law.” Doc. 68-1 at 8; Mot. 10. But savings clauses like this

       must be “read in their context,” and “cannot be given effect when [doing

       so] would override clear and specific language” in the directive at issue.

       San Francisco, 897 F.3d at 1239. Here, the undisputed evidence

       showed that the savings clauses were neither meant nor taken

       seriously. Op. 22 n.11. Executive Order 14,154, for instance, told

       agencies to “immediately pause the disbursement of funds”—all funds—

       appropriated under the IRA and IIJA, Doc. 68-1 at 6, and defendants

       did so, supra p. 6. At bottom, the sweeping and indiscriminate nature

       of the freezes belies any suggestion that agency defendants either

       thought they were required to consider their legal obligations before

       freezing funds or actually did so. Indeed, “it is unclear whether twenty-

       four hours is sufficient time for an agency to independently review a

       single grant, let alone hundreds of thousands of them,” to assess a

       freeze’s legality. Council I, 2025 WL 368852, at *8.



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            Defendants also repeatedly attack the district court for enjoining

       them from implementing funding freezes even after the Directive’s

       rescission. Mot. 8-9, 12-13. But they appear to accept the court’s

       conclusion that the rescission did not moot the case. Op. 15-17. For

       good reason: A defendant’s voluntary change in conduct moots a case

       only if it shows that the cessation was unrelated to the litigation and

       the conduct is unlikely be repeated. Lowe v. Gagné-Holmes, 126 F.4th

       747, 756 (1st Cir. 2025). Here, the unrebutted evidence amply supports

       the district court’s findings that defendants likely “rescinded” the

       Directive to evade judicial review, and that they will reinstitute their

       funding freezes if this Court stays the injunction pending appeal. Op.

       15-17. Indeed, Plaintiff States submitted extensive evidence

       establishing that defendants did not actually cease the challenged

       conduct even with the TRO in place, instead continuing to impose

       categorical freezes. Op. 12-13, 36, 39, 41-42; see Council I, 2025 WL

       368852, at *7-8. This case is thus a textbook application of the

       voluntary-cessation exception, which ensures a defendant is not “free to

       return to [its] old ways.” Friends of the Earth, Inc. v. Laidlaw Env’t

       Servs. (TOC), Inc., 528 U.S. 167, 189 (2000).



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            3.     Finally, defendants criticize the district court’s conclusion

       that they likely violated the Impoundment Control Act by withholding

       funds without attempting to comply with that statute’s limitations.

       Mot. 14-17. These arguments do not provide an adequate basis for

       granting a stay, given that the district court found that defendants also

       acted arbitrarily and violated other federal funding statutes in freezing

       funds, Op. 27-30, but they are also wrong.

            First, Plaintiff States can seek relief under the APA for a violation

       of the Act. Mot. 15-16. APA review is presumed available unless a

       statute “preclude[s] judicial review,” 5 U.S.C. § 701(a)(1), and only a

       statute with “sufficient clarity” can overcome that presumption, Thryv,

       Inc v. Click-To-Call Techs., LP, 590 U.S. 45, 53 (2020). The Act is not

       such a law. Although it confers enforcement authority on the

       Comptroller General when an agency has refused to make appropriated

       funds “available for obligation,” 2 U.S.C. § 687, that is immaterial here,

       given that this case concerns only already obligated funds, Opp. 44.

       And nothing in the Act states that APA review is precluded. Accord

       AIDS Vaccine Advoc. Coal. v. U.S. Dep’t of State, 2025 WL 752378, at

       *17 n.17 (D.D.C. Mar. 10, 2025).



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             Defendants’ remaining arguments regarding the Act also fail.

       Defendants assert that this case involves only “short-term pause[s] in

       funding,” which are not “deferrals” under the Act, Mot. 16, but the

       record shows otherwise. The funding freezes initiated by the Directive

       had no end date, Doc. 1-1 at 2, and indeed, some defendants are still

       freezing funds to Plaintiff States, see Doc. 160. Nor did the district

       court abuse its discretion in prohibiting defendants from categorically

       freezing funds (rather than requiring them to inform Congress of their

       intent to defer spending, as defendants suggest), Mot. 15, given ample

       evidence that the freezes were based on policy priorities, rather than

       any of the reasons enumerated under the Act, 2 U.S.C. § 684.

       II.   The District Court Did Not Abuse Its Discretion Issuing
             Injunctive Relief.

             The district court also held that the equitable considerations

       overwhelmingly favored entry of a preliminary injunction. Op. 34-43.

       This Court reviews the district court’s analysis for abuse of discretion,

       keeping in mind “the preliminary nature of the proceeding.” Arborjet,

       Inc. v. Rainbow Treecare Sci. Advancements, Inc., 794 F.3d 168, 170 (1st

       Cir. 2015). “[T]he purpose of a preliminary injunction is to preserve the

       status quo before the merits have been resolved.” Francisco Sanchez v.


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       Esso Standard Oil Co., 572 F.3d 1, 19 (1st Cir. 2009). The injunction

       here does so by preventing defendants from reinstating the Directive or

       similar categorical funding freezes, while allowing them to continue to

       make funding decisions in accordance with applicable legal authorities

       and grant terms.

            A.     Defendants have not shown irreparable injury.

            Defendants’ arguments that they will be “irreparably injured

       absent a stay,” New Jersey, 2025 WL 759612, at *3, largely rest on a

       misreading of the injunction, and the district court did not abuse its

       discretion in rejecting them.

            Defendants’ primary argument is that, if their position is “later

       vindicated” on appeal, funds “obligated or disbursed pursuant to the

       district court’s order” might not ultimately be “retrievable from the

       States or their subgrantees.” Mot. 20. That is wrong in multiple

       respects. First, the injunction does not compel defendants to execute

       new obligations of appropriated funds, only to honor the obligations

       they have already finalized under the binding terms of existing awards.

       Op. 44. Following the terms of the contracts it negotiated and signed

       hardly constitutes a “harm” to defendants. But even that alleged injury



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       is ameliorated by the limited nature of the injunction, which applies

       only to the Directive and similar “categorical pause[s] or freeze[s] of

       funding appropriated by Congress.” Id. at 44. As the district court

       emphasized, the injunction “does not prevent the Defendants from

       making funding decisions in situations under the Executive’s ‘actual

       authority in the applicable statutory, regulatory, or grant terms.’” Id.

       at 42-43. There is thus no real risk that defendants will be forced to

       disburse funds they are legally entitled to withhold.

            Defendants are likewise incorrect that the injunction “presents

       especially stark separation-of-powers problems” because it “purports to

       govern the manner in which a range of federal agencies make funding

       decisions across a spectrum of federal spending programs, and it

       extends even to lawful implementations of the President’s Executive

       Orders.” Mot. 18. The injunction does no such thing. As explained,

       agencies may continue to make funding decisions, informed by the

       President’s executive orders, in accordance with the agencies’ statutory,

       regulatory, and contractual authority. They simply may not impose

       across-the-board funding freezes of the kind reflected in the Directive,

       untethered from legal justification. Continuation of that status quo



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       while this case proceeds to judgment will not irreparably injure

       defendants.

            Defendants are also wrong that the preliminary injunction is

       “vague.” Mot. 18. The injunction prohibits them from implementing

       the Directive “under a different name or through other means,” and

       extends to orders that are “materially similar” to the Directive in

       “impos[ing] or appl[ying] a categorical pause or freeze of funding

       appropriated by Congress.” Op. 44. That description satisfies Rule 65,

       which requires only that an injunction “describe in reasonable detail . . .

       the act or acts restrained or required.” Fed. R. Civ. P. 65(d)(1)(C)

       (emphasis added). It does not require that an injunction more precisely

       define terms “whose boundaries are understood by common parlance.”

       United States v. Prof’l Air Traffic Controllers Org., 678 F.2d 1, 3 (1st

       Cir. 1982). And that language is especially sensible here, as it prevents

       defendants from again invoking the Directive’s “rescission” as an excuse

       to continue the unlawful categorical funding freezes. See United States

       v. Askins & Miller Orthopaedics, P.A., 924 F.3d 1348, 1362 (11th Cir.

       2019) (“degree of particularity required” by Rule 65(d) “depends on the

       nature of the subject matter”).



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            Defendants further contend that the injunction’s “language invites

       the district court to engage in precisely the sort of ‘preclearance’ regime”

       that the court has disclaimed. Mot. 18-19. That is not correct either.

       Agencies need not seek or receive affirmative authorization from the

       district court before making funding decisions regarding particular

       grants in a manner consistent with their statutory and regulatory

       authority and applicable grant terms and conditions. Nor is the district

       court improperly “micromanaging the administration of federal funds.”

       Id. at 19.1 Plaintiff States have brought two disputes to the court since

       the case was filed regarding whether certain attempts to curtail funding

       violate court orders. That is ordinary litigation, not a separation-of-

       powers problem. At bottom, it is the court’s injunction, not a stay, that

       will allow funding decisions to be made “consistent with federal law.”

       Mot. 20.




       1 Defendants invoke the specter of contempt, and cite a motion filed in
       an unrelated case as evidence of that risk, id., but Plaintiff States have
       never sought contempt in this case, as defendants concede.

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            B.     The balance of the equities tilts sharply against a
                   stay.

            Defendants have also failed to show that the balance of equities

       and the public interest favor a stay. Indeed, a stay would “substantially

       injure the other parties interested in the proceeding,” Nken, 556 U.S. at

       426, and accordingly should be denied.

            The Directive was sweeping in scope, implicating over 2,600

       funding sources and billions of dollars to Plaintiff States. Docs. 68-9,

       -11. The resulting harm was severe and widespread. As the district

       court explained, Plaintiff States submitted “unrebutted evidence that

       the States and their citizens are currently facing and will continue to

       face a significant disruption in health, education, and other public

       services that are integral to their daily lives due to [defendants’] overly

       broad pause in federal funding.” Op. 43. Childhood education providers

       were unable to access federal funds, threatening layoffs and a reduction

       in services. Id. at 36-37. Medicaid providers faced a similar situation.

       Id. at 37. Law enforcement and public safety agencies were unable to

       access grants for combating violent crime, emergency response, and

       other critical functions. Id. at 37-38. And the district court considered

       ample evidence of other important state functions impaired by the


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       freezes, including K-12 education funding, services for the elderly and

       people with disabilities, and environmental protection. See id. at 19 n.8

       (citing evidence).

            Defendants do not dispute that these harms have occurred. Mot.

       20-21. Rather, defendants contend that Plaintiff States would suffer

       irreparable injury only if “federal funds [are] cut off unlawfully,” rather

       than in a manner “consistent with federal law.” Id. But that is simply

       a repackaging of defendants’ merits arguments, not an argument about

       equities supporting a stay. Defendants also argue that Plaintiff States

       would not be harmed in the absence of injunctive relief because at some

       unspecified future time, they will “receive any funds that agencies are

       legally obligated to disburse.” Id. at 21. The district court correctly was

       “not reassured by this vague promise.” Op. 35. Even if Plaintiff States

       were to someday receive the funds owed to them, in the interim, they

       would have to cut services, cancel projects, departments, and programs,

       and lay off staff. Id. at 35-42. And the resulting uncertainty regarding

       whether funds would be restored would make it impossible for Plaintiff

       States to budget or plan their operations. Id. at 35-36, 41. The district




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       court properly weighed these harms in issuing the preliminary

       injunction.

                                   CONCLUSION

            The Court should deny a stay pending appeal.



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            I hereby certify that the foregoing motion complies with the word

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                            CERTIFICATE OF SERVICE

            I hereby certify that on March 17, 2025, I electronically filed the

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